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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


SARAH LINDSLEY,                           §
                                          §
             Plaintiff,                   §
                                          §
v.                                        §   Civil Action No. 3:17-cv-02942-X
                                          §
TRT HOLDINGS, et. al,                     §
                                          §
             Defendants.                  §


                                FINAL JUDGMENT

      By separate orders, the Court has granted defendants TRT Holdings, Inc. and

Omni Hotel Management Corp. (collectively the “defendants”) motions for summary

judgment [Doc. Nos. 121 & 136] on all claims asserted by plaintiff Sarah Lindsley. It

is, therefore, ordered that the Lindsley take nothing by her claims against the

defendants and that those claims are dismissed with prejudice. Each party shall bear

its own costs. All relief not expressly granted is denied. This is a final judgment.


      IT IS SO ORDERED this 7th day of February 2020.




                                              BRANTLEY STARR
                                              UNITED STATES DISTRICT JUDGE




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